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UNITED STATES
DEPARTMENT OF THH INTERIOR
GHOLOGICAL SURVEY

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~ see 1:24000 scale maps of the San Luis
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FOR SALE BY U.S.GEOLOGICAL SURVEY, FEDERAL CENTER, DENVER, COLORADO OR WASHINGTON 25, D.C.

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A FOLDER DESCRIBING TOPOGRAPHIC MAPS AND SYMBOLS IS AVAILABLE ON REQUEST

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